






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00641-CV






Rhett Webster Pease, Appellant


v.


William Veith, Appellee






FROM THE COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY 

NO. C-1-CV-07-007421, HONORABLE ERIC SHEPPERD, JUDGE PRESIDING





M E M O R A N D U M  O P I N I ON


		Appellant, Rhett Webster Pease, filed an affidavit of indigence.  Appellee,
William&nbsp;Veith, filed a contest to Pease's affidavit.  The Court abated the appeal so that the trial court
could conduct an evidentiary hearing on the contest.  See Pease v. Veith, No.&nbsp;03-07-00641-CV
(Tex.&nbsp;App.--Austin Feb. 5, 2008, no pet.) (citing Tex. R. App. P. 20.1(h)(4)).  In the order of
abatement, the Court instructed the trial court to file a clerk's record containing the documents
relating to the contest and a reporter's record of the evidentiary hearing.  The Court also informed
the parties that the appeal would be reinstated when the record on the contest was filed.  On
July&nbsp;11,&nbsp;2008, the clerk's record and the reporter's record on the contest were filed.  Accordingly,
the appeal is reinstated.		

		On July 23, 2008, Pease checked out both the clerk's record and the reporter's record
on the contest.  On August 22, the Court called Pease to inquire about the return of the records. 
Pease did not return the Court's call.  

		On September 29, 2008, the Court sent Pease a letter, asking him to return the records
no later than October 10, 2008.  We informed Pease that failure to do so would result in dismissal&nbsp;of
his appeal for failure to comply with notice from the clerk requiring a response or other action within
a specified time.  See Tex. R. App. P. 42.3(c).  The deadline has passed, and Pease has not&nbsp;returned
the records or responded to this Court's notice in any fashion.  Accordingly, we dismiss the appeal. 
See id.; see also Pease v. Attorney General of Texas, No. 03-05-00722-CV (Tex.&nbsp;App.--Austin
July&nbsp;5, 2006, no pet.) (dismissing appeal for failure to return clerk's record as&nbsp;requested). (1)  


						___________________________________________

						Bob Pemberton, Justice       

Before Chief Justice Law, Justices Puryear and Pemberton

Dismissed

Filed:   November 13, 2008


1.   We have received from Pease a motion "to lift the abatement and request the clerk to notice
the trial court reporter to file the transcript."  In light of our disposition of the appeal, we dismiss this
motion as moot.

